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                                                      U.S. Department of Justice

                                                      Channing D. Phillips
                                                      Acting United States Attorney

                                                      District of Columbia

                                                      Judiciary Center
                                                      555 Fourth St., N.W.
                                                      Washington, D.C. 20530


                                                      September 21, 2021

Via Overnight Mail

Lisa Costner
Federal Public Defender MDNC
251 N. Main St. Suite 849
Winston-Salem NC 27101

J. Daniel Hull
Hull McGuire PC
888 Seventeenth Street, NW
Suite 1200
Washington, DC 20006

Jonathon Moseley
5765-F Burke Centre Parkway
Suite 337
Burke, Virginia 22015

Nicholas Smith
7 East 20th Street
Suite 4R
New York, NY 10003

                Re:   United States v. Ethan Nordean et al., Cr. No.: 21-cr-175 (TJK)

Dear Counsel:

       Please find enclosed an external hard drive that contains electronic media relating to the
events on January 6, 2021. The media was recorded by a documentary filmmaker and his
associates. Specifically, the enclosed hard drive contains 2,275 files. An index of the files is
included on the external hard drive.
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       The government respectfully requests that you download the 2,275 files to a local storage
device and return the external hard drive at your earliest convenience.

        These files have all been designated as Sensitive pursuant to the terms of the
Protective Orders entered in this case because at least some of the files contain contact
information for, photographs of, and private conversations with individuals that may not be related
to the criminal conduct in this case. See ECF 83 at ¶ 1.c.

       Please contact me should you have any questions or concerns.


                                                     Sincerely yours,

                                                     CHANNING D. PHILLIPS
                                                     ACTING UNITED STATES ATTORNEY

                                             By:            /s/
                                                     Jason B.A. McCullough
                                                     Assistant United States Attorney
                                                     555 4th Street, N.W.
                                                     Washington, D.C. 20530
                                                     (202) 252-7233
                                                     jason.mccullough2@usdoj.gov




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